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                IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        )
                                                )       Criminal No. 22-mj-76 (GMH)
                v.                              )
                                                )
ARIAN TAHERZADEH &                              )
HAIDER ALI,                                     )
           Defendants.                          )

       GOVERNMENT’S RESPONSE TO COURT’S APRIL 15, 2022, ORDER

        To ensure candor with the Court and to apprise the defendants of a factual error in the

original affidavit in support of the criminal complaint, the Government submitted an amended

affidavit to substitute for the original affidavit, which it intended to be sworn out before this Court.

Because affidavits in support of criminal complaints are typically submitted ex parte, the

Government submitted its amended affidavit ex parte. As stated in the accompanying substitution

motion, the Government always intended for the amended affidavit to be disclosed to the defense

and to be part of the public record—in-part so that the defense can make whatever use of the

government’s mistake it deems appropriate. Indeed, the government voluntarily disclosed the

amended affidavit to the defense last week. See Exhibit 1. The government’s submission was not,

as the defense insinuates, an effort at subterfuge. To the contrary, it was an effort at transparency

and candor through the submission of a sworn affidavit correcting a factual mistake and providing

other pertinent investigative information with the full knowledge and understanding that the

information would become public at an appropriate time.

        In any event, because the grand jury has now returned an indictment charging both of the

defendants with impersonating a federal officer and related firearms offenses, the government’s
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motion to substitute the affidavit, and whether it can be considered ex parte is moot. See, e.g.,

United States v. Williamson, No. CR 14-151 (RMC), 2014 WL 12695537, at *7 (D.D.C. Oct. 20,

2014) (“The issue of whether the Affidavit was sufficient to support the Complaint became moot

upon the Grand Jury’s finding of probable cause and return of the Indictment…”); see also Denton

v. United States, 465 F.2d 1394, 1395 (5th Cir. 1972) (a subsequent valid indictment following

arrest can “remed[y] any defect in the complaint and arrest warrant”) (citing Tanner v. United

States, 296 F.2d 218 (10th Cir. 1961); United States v. Cedeno-Olivencia (D.P.R. Jan. 26, 2022)

(a valid indictment remedies defects in a criminal complaint); Wright and Miller, 1 Fed. Prac. &

Proc. Crim. § 42 (4th ed.) (defects in a complaint do not deprive the court of jurisdiction or prevent

a prosecution if a valid indictment is subsequently returned). The Government therefore

withdraws its motion.

                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      UNITED STATES ATTORNEY



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